
ROBERTSON, Presiding Judge,
concurring in the result only.
I do not believe that proof of both legal and medical causation is necessary in cases of accidental injury verses non-accidental injuries. As I stated in Skelton v. Uniroyal Goodrich Tire Co., 704 So.2d 95, 102 (Ala.Civ.App.1997) (Robertson, P.J., concurring in the result only):
“I concur in the result only and write specially to question whether our Supreme Court continues to require an injured employee to prove both legal and medical causation in all cases, both accidental and non-accidental. I tried to point out in Trinity Industries, Inc. v. Cunningham, 680 So.2d 253 (Ala.Civ.App.1995), how this evidentiary requirement came into being in Aabama case law involving accidental injuries, i.e., injuries caused by a sudden or traumatic event. I interpret Ex parte Trinity Industries, Inc., 680 So.2d 262 (Aa.1996), our latest Supreme Court expression on legal causation, to say that the burden of proving both legal and medical causation is required only in cases involving non-accidental injuries, i.e., pneumonia, stroke, heart attack, etc. The ‘legal causation’ burden of proof is certainly understandable in those type eases; however, I fail to understand the rationale of requiring an employee to prove legal causation for sudden accidental injuries occurring in ordinary jobs.”
